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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            JACKSON DIVISION


UNITED STATES OF AMERICA

VS.                       CRIMINAL CASE NO. 3:12-cr-88-003(DCB)(FKB)

WILLIE EARL CULLEY                                               DEFENDANT


                                 ORDER

        This cause is before the Court on the defendant Willie Earl

Culley’s Motion to Modify Supervised Release (docket entry 338),

Motion to Reduce Sentence (docket entry 346), Motion to Vacate

Under 28 U.S.C. § 2255 (docket entry 350), Motion for Federal

Benefits (docket entry 363), Motion to Modify Supervised Release

(docket entry 364), and Motion for Criminal Complaint (docket entry

365).    Upon review of the motions, the Court finds that Responses

from the Government are needed;

        Accordingly,

        IT IS HEREBY ORDERED that the Government respond to the

aforementioned motions by defendant within thirty (30) days from

the date of entry of this Order, unless the Government finds it

necessary to move for additional time.

        SO ORDERED, this the 5th day of November, 2015.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
